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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

      RAFAEL MÁRCIO MELILLO BASTOS,

             Plaintiff,                                      Case No.: 1:23-cv-16373

      v.                                                     Judge Mary M. Rowland

      THE PARTNERSHIPS AND                                   Magistrate Judge Beth W. Jantz
      UNINCORPORATED ASSOCIATIONS
      IDENTIFIED ON SCHEDULE “A”,

             Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                                    DEFENDANT
               33                                        Oreayn
               84                                      Buerhomie
              132                                     BSJ Co.,Ltd
              131                                       LZBRDY
              140                                        Sinoyp
              168                                 DoDo Children Clothes
                9                                      erosebridal
              112                                   zhangaochengUS
              121                                         KJYF
               35                                  TRAN VAN HUUhh
                5                                       NKREB
                8                                       DEWCS
               38                                      TAFLENV
               39                                       YinXXX
               59                                       THBLNR
               71                                        YBFSF
              163                               YUANHE AUTO PARTS
               73                  putianshilichengquhuangshijinzhusiliaojiagongchang
              167                              Medium and small decorative
              156                                         Eease
   Case: 1:23-cv-16373 Document #: 33 Filed: 02/02/24 Page 2 of 3 PageID #:1287




             135                                F_Gotal
             149                           FNNMNNR Co. Ltd
             101                              LanBeiHong
             159                            Cool DIY Patches
              27                              panpanstore
              14                             HUANG HAN
             116                                Aidelan
              68                                 ShoPen
              18                               HLZHLZ
              26                               Armanity
             147                                 CQDY


DATED: February 2, 2024                     Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            33 W. Jackson Blvd., #2W
                                            Chicago, Illinois 60604
                                            Telephone:312-971-6752
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on February 2, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
